Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.1 Page 1 of 7
            Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.2 Page 2 of 7




                   c.     On April 23, 2018, in lieu of requiring Plaintiff to

      personally serve Defendants, counsel for Defendants accepted service of

      Scottsdale's First Amended Complaint.

                   d.     On May 11, 2018, Defendants filed this Notice of

      Removal, 18 days after receiving a copy of the First Amended Complaint.

            2.     Diversity Jurisdiction. Removal is based on diversity of

      citizenship. The Court has diversity jurisdiction over this action under 28

      U.S.C. § 1332(a)(1) because the parties are completely diverse and the

      action meets the amount-in-controversy threshold:

                   a.     Scottsdale is an Arizona corporation with its principal

      place of business in Maricopa County, Arizona, making it a citizen of

      Arizona for diversity purposes.'

                   b.     Mr. Goode is a natural person who is domiciled in

      Kalamazoo County, Michigan, making him a citizen of Michigan for

      diversity purposes.' (Although the First Amended Complaint alleges only

      that Mr. Goode resides in Kalamazoo County, he avers that he was

      domiciled there at the time Scottsdale filed the original Complaint.)

                   c.     MLM is a Michigan limited liability company. Limited

      liability companies hold the citizenship of each member.' Mr. Goode is the

      sole member of MLM, which means MLM shares his Michigan citizenship

Z     for diversity purposes.
0

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            Exhibit 2 at 2, IT 4; 28 U. S. C. § 1332(c)(1).
            Exhibit 2 at 2, 4i 6; Kaiser v. Loomis, 391 F. 2d 1007, 1009 (CA6 1968).
            Delay v. Rosenthal Collins Group, LLC, 585 F.3d 1003, 1005 (CA6 2009).
            Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.3 Page 3 of 7




                   d.     Fictitious "John Doe" defendants are ignored when

     assessing diversity."

                   e.     The First Amended Complaint alleges that the amount

     in controversy exceeds $25,000, but does not specify that the amount is less

     than $75,000.01. In such circumstances, a defendant need only include in

     its Notice of Removal a plausible, good-faith allegation that the amount in

     controversy exceeds the jurisdictional threshold.' To satisfy this

     requirement, Defendants allege that the amount in controversy exceeds

     the $75,000.00 jurisdictional threshold, excluding interest and costs.

     Defendants make this allegation in good faith based on the nature of the

     defamation and false-light claims asserted in the First Amended Complaint

     and the nature of Scottsdale's business:

                         (i)    Scottsdale alleges that it is a broker-dealer

     regulated by the U.S. Securities & Exchange Commission ("SEC") and one

     of the dominant companies in the microcap securities market, handling

     more than $125 million worth of trades in just 2015.8 By way of

     background, the SEC characterizes microcap securities—low-priced stocks

     issued by the smallest of companies—as "among the most risky," suffering

     from a scarcity of publicly-available information that allows "fraudsters

     [to] easily spread false information about microcap companies, making


O           28 U.S. C. § 1441(b)(1).
           28 U.S. C. § 1446(c)(2)(A)-(B). See also Dykema v. Jo-Ann Stores, LLC,
Lu
     Civ. No. 16-380; 2016 WL 2752891, *2(WD Mich. May 12, 2016)(citing Dart
     Cherokee Basin Operating Co., LLC v. Owens, —U.S.—; 135 S. Ct. 547, 553
co   (2014)).
        8
            Exhibit 2 at 3, 4111.
               Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.4 Page 4 of 7




       profits while creating losses for unsuspecting investors. Even in the

       absence of fraud, microcap stocks historically have been more volatile and

       less liquid than the stock of larger companies."'

                           (ii)     Scottsdale claims that Defendants defamed it by
       publishing two articles regarding regulatory enforcement actions by the

       SEC and the Financial Industry Regulatory Authority ("FINRA") against

       Scottsdale for abdicating its gatekeeping role to guard against pump-and-

       dump frauds, sham transactions, and other "red flag" transactions.'"

                          (iii)     Construing the First Amended Complaint in a

       light most favorable to Scottsdale, Scottsdale alleges that it has lost

       business (and continues to lose business on an ongoing basis) because of

       these articles.' As a broker-dealer, Scottsdale makes money on effecting

       trades of its customers, so lost business means lost profits.'

                          (iv)      Finally, Scottsdale seeks consequential,

       exemplary, and punitive damages in addition to compensatory damages.'"


          9 U.S. Secs. & Exch. Comm'n, Microcap Stock: A Guide for Investors
       (Sept. 18, 2013)(available at: https:/ /www.sec.govireportspubs/investor-
       publications/investorpubsmicrocapstockhtm.html).
              Exhibit 2 at 3-5, 4J'J 13-15 and Exhs. 1-2 (April and June Articles). See
       also Exhibit 4, FINRA Am. Extended Hr'g Panel Decision (Jun. 20, 2017).
         " Id. at 5, 4117. Although it claims ongoing damages, the jurisdictional
 CD
       threshold is assessed as of the time that the action is filed. See Worthams v.
 O     Atlanta Life Ins. Co., 53 F.2d 994, 997(CA6 1976).
          12
             Compare Exhibit 2 at 3, 4111 ($125 million in trades in 2015) with
       Exhibit 5, Scottsdale Schedule of Commission and Fees, App'x A (Jan. 9,
 E-    2017)(detailing commissions and fees charged for opening accounts,
       trading fees, moving funds, and administrative services).
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C4;1           Exhibit 2 at 7, Prayer for Relief 41 A.

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              Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.5 Page 5 of 7




         Such damages, when claimed, are properly considered for jurisdictional

         purposes.14

                            (v)    Defendants therefore respectfully submit that

         Scottsdale plausibly seeks more than $75,000.00 in damages.

               3.      Proper Venue. The proper venue for a removed action is the

         district court for the district and division embracing the place where the

         State action is pending.15 The Kalamazoo Circuit Court is located in the

         Southern Division of this Court."

               4.      Notice Provided. A defendant must give written notice of

         removal to all adverse parties.' On May 11, 2018, Defendants served a

         copy of this Notice on Scottsdale.'

               5.      State Court Notified. A defendant must also file the notice of

         removal with the clerk of the State court where the action was

         commenced.' On May 11, 2018, Defendants filed a copy of this Notice

         with the clerk of the Kalamazoo County Circuit Court.



            14 Klepper v. First Am. Bank, 916 F.2d 337, 341 (CA6 1990).
            15 28 U.S. C. § 1441(a)

            16 Compare M.C. L. § 600.510 (defining the circuit court's geographic
         reach to be coterminous with the geographic boundary of Kalamazoo
         County) with W.D. Mich. L. Civ. R. 3.2(a) (requiring that removed actions
 Z       be assigned to the division embracing the county in which the case was
 0       pending in State court and defining the Southern Division to include
         Kalamazoo County).
 N          17 28 U.S. C.§ 1446(d).
 1-
            1f3 Exhibit 6, Proof of Service of Notice of Removal(May 11, 2018).
 co
            19 28 U.S. C.§ 1446(d).
(24;*1
                  Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.6 Page 6 of 7




                  6.    Pleadings Filed with this Court. With his notice of removal, a

        defendant must file a copy of all process, pleadings, and orders served

        upon them in the State action.' Although Scottsdale only provided

        Defendants with a copy of the First Amended Complaint, as a courtesy to

        the Court, Defendants have procured, and file with this Notice, copies of

        the Summonses, original Complaint, the First Amended Complaint, and

        the Register of Actions.'

                  7.    Rule 11 Verification. Under 28 U.S. C. § 1446(a), this Notice is

        signed pursuant to Rule 11 of the Federal Rules of Civil Procedure.

                  8.    Request for Remand Hearing and Jurisdictional Discovery. If

        Scottsdale or the Court question the existence of diversity jurisdiction as it

        relates to the amount in controversy, Defendants respectfully request

        jurisdictional discovery and a remand hearing at which they can present

        evidence in support of the existence ofjurisdiction. Jurisdictional

        discovery is appropriate when a party questions the factual basis for

        jurisdiction.22

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 0                28 U.S. C. § 1446(a).
 -J
             21
 -/               Exhibits 1-2 and Exhibit 3, State Court Register of Actions.
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 N                Chrysler Corp. v. Fedders Corp., 643 F.2d 1229, 1240 (CA6 1981)
                  Cf.
 i—
 m      (holding that "discovery may be appropriate when a defendant moves to
 co     dismiss for lack ofjurisdiction," a situation analogous to a motion to
(24-1   remand).
     Case 1:18-cv-00533 ECF No. 1 filed 05/11/18 PageID.7 Page 7 of 7




      WHEREFORE,the Court has subject-matter jurisdiction over this

action under 28 U.S. C. § 1332(a)(1), and this action is removed to this

Court under 28 U.S. C. § 1441(a).



                                      Respectfully submitted,

                                            BUTZEL LO

Dated: May 11, 2018                             6**4     1
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